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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  NATIONAL ASSOCIATION OF
  MINORITY VETERANS,

                         Plaintiff,

         v.                                               Civil Action No. 21-1298 (RC)

  U.S. DEPARTMENT OF VETERANS
  AFFAIRS,

                         Defendant.



                         DECLARATION OF OCTAVIA SMALLS

        I, Octavia Smalls, do hereby declare under the penalties of perjury, pursuant to 28 U.S.C.
§ 1746, that the following is true and correct to the best of my knowledge, information, and
belief:

   1. I am an Administrative Officer for the Department of Veterans Affairs Office of Human
      Resources Administration/Office of Operations, Security, and Preparedness (VA
      HRA/OSP), Management, Planning, & Analysis (MPA). In this capacity, I am responsible
      for the handling of the Freedom of Information Act (FOIA) requests as the liaison for OSP.
      I am responsible for processing FOIA requests and referrals for HRA/OSP. I have served
      in this role since 2021. Prior to becoming the Administrative Officer for HRA/OSP MPA,
      I served as an Administrative Officer for VA Office of Procurement & Logistics.

   2. I assign, oversee, and complete appropriate records searches for each FOIA request
      submitted. In consultation with the Department’s senior leadership offices, I make
      determinations regarding what records are appropriate for release in accordance with the
      FOIA policies and procedures of the Department and pursuant to 5 U.S.C. § 552. In
      processing such requests, I consult with personnel in the Department's senior leadership
      offices and, when appropriate, with other components within the Department, as well as
      with other Executive Branch agencies and make determinations as to the applicability of
      exemptions permitted under the FOIA.

   3. I make the statements herein based on personal knowledge, including experience with
      FOIA, with OSP, and in handling requests for senior leadership office records, as well as
      on information acquired by me while performing my official duties.
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I. OFFICE OF THE INSPECTOR GENERAL’S REFERRAL OF DOCUMENTS TO
        OFFICE OF SECURITY AND PREPAREDNESS FOIA OFFICE

4. The VA Office of Inspector General (OIG) received a FOIA request from Matthew Struger,
   dated August 23, 2021.

5. The OIG determined that 1645 pages of the requested documents pertaining to the
   December 13, 2018 OIG report titled Inadequate Governance of the VA Police Program at
   Medical Facilities originated with OSP.

6. On October 6, 2021, the OIG referred the documents to OSP for review, processing, and
   direct response to Plaintiff.

7. OSP assigned the referral FOIA Case No. 22-00002-R for processing. Because this matter
   was a direct referral from OIG, OSP considered only the 1645 pages that were directly
   referred and did not conduct further searches for responsive materials, as such is not
   required.

8. Upon review of the one thousand six hundred forty-five (1645) pages of referred
   responsive records, OSP determined that the referral was actually one thousand six
   hundred forty-six (1646) pages of responsive records.

9. On October 8, 2021, after consideration of the referred documents and application of
   appropriate redactions, the Office of Security and Law Enforcement (a subunit within
   OSP) issued the Initial Agency Determination to Plaintiff. See Exhibit L. After
   application of Exemptions 5, 6, and 7(E) to the documents, the Agency withheld the 1646
   pages in their entirety.

10. After careful and extensive examination, OSP determined that additional non-exempt
    information is reasonably segregable and could be released. Specifically, on March 21,
    2023, OSP released to Plaintiff Bates stamped pages 40, 137-140, 478, 795, 1041, 1073,
    1074, 1088, 1089, 1100, 1101, 1259, 1341, 1578, 1593, and 1646. Some pages were
    released in full, and some were released in part.

                           II. APPLICATION OF EXEMPTIONS

11. Attached to this declaration is the OSP Vaughn index documenting the FOIA exemptions
    applied.

                                       A. Exemption 5

12. Exemption 5 was applied to one document located within the 1646 referred pages, Bates
    stamped as 001599-001645. This document, referred to as Inspection Checklist OS&LE
    Police Service Inspection for FY 2017 & 2018, is a deliberative document and protected
    from disclosure. The document is an “inter-agency or intra-agency memorandums or
    information which would not be available by law to a party other than an agency in
    litigation with the agency.” 5 U.S.C. § 552 (b)(5). This Exemption protects from
    disclosure deliberative documents for which disclosure could result in premature
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   disclosure of policies prior to adoption, thwart open and honest discussion between
   superiors and subordinates, discourage frank discussion, and could result in confusion
   regarding the policies and procedures related to security and law enforcement at VA
   facilities. The deliberative process privilege is designed to protect the “decision making
   processes of government agencies.” In concept, this privilege protects not merely
   documents, but also the integrity of the deliberative process itself where the exposure of
   that process would result in harm.

13. This document reflects the thinking of the Agency in proposing and revising its policies
    with regard to ensuring security at VA facilities. The revisions contained in the document
    reflect the opinions of the contributors prior to the adoption of the policy. No statements
    of agency legal positions are conveyed in the revisions and the revisions, as drafted, do
    not represent any binding agency interpretation or opinion. The revisions are advisable in
    nature and do not state or determine agency policies.

14. Release of the checklist for performing facility inspections would reveal the same
    information regarding security measures, access control, law enforcement procedures,
    investigations, access to VA facilities and systems would expose techniques, policies,
    security features employed at facilities, investigative techniques, and other information
    pertaining to security and law enforcement operations to the public. These checklists
    provide a template for the examination of facility safety procedures, law enforcement
    techniques and policies, access security, and related matters that ensure the overall
    security and safety of employees, patients, and the public. Disclosure of camera
    placement, security protocols, law enforcement protocols for response to emergency
    situations, and security for narcotics and medications are all included in the checklist.
    This information would reveal particulars about camera surveillance, access controls,
    investigations, law enforcement procedures, and would allow for circumvention of
    security and law enforcement procedures which would result in appreciable harm.

15. The deliberative nature of these documents, and possible harms associated with their
   release, were considered, and it was determined that application of Exemption 5 was
   appropriate.

                                         B. Exemption 6

16. OSP also applied Exemption 6 to withhold portions of the referred documents.
    Exemption 6 applies when the disclosure would be an unwarranted invasion of an
    individual’s privacy and the public interest in disclosure would not outweigh such
    privacy considerations. Upon a line-by-line review of the referred documents, OSP
    determined that individual’s names, addresses, phone numbers, and similar identifying
    and contact information should not be disclosed in this case. Further, as these records
    deal with law enforcement and security, and the names of law enforcement personnel not
    considered decision makers for the Agency, the protection of law enforcement names and
    identifying information outweighs the public interest in disclosure. Disclosure of these
    names would offer no greater insight into the operations of the government, OSP properly
    applied Exemption 6 to withhold those materials.
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                                      C. Exemption 7(E)

17. Exemption 7 protects from disclosure records compiled for law enforcement purposes.
    Courts have recognized that the protection extends beyond active law enforcement
    investigations and includes non-investigatory materials like law enforcement manuals,
    investigatory techniques, and procedures. Because these records all involve facility
    inspections designed to ensure that law enforcement and safety measures employed at
    individual VA facilities comply with requirements and are sufficient to ensure safety of
    patients, employees, and the public, they were compiled for law enforcement purposes.

18. These facility inspections, if released, would provide a guide for circumvention of the
    policies and procedures employed by law enforcement to limit criminal activity and
    protect VA facilities. A nefarious actor could use these very investigative reports to
    circumvent the law. By knowing what security measures are in place, how law
    enforcement will respond to emergency situations such as terrorism or active shooters,
    and where and how security measures are implemented, an individual could seek to
    leverage such knowledge to circumvent the law.

19. After review of the materials and after consideration of possibly segregable material, it
    was determined that Exemption 7 (E) has applicability and that information contained in
    these focused reviews of law enforcement procedures and security measures contains no
    material that is segregable without disclosure of matters protected by Exemption 7. Thus,
    these documents were withheld in full under Exemption 7(E).

                                III. SEGREGABILITY

20. I conducted a line-by-line segregability analysis of the responsive records. For example,
    after careful and extensive examination, OSP determined that non-exempt information
    from 19 pages could be reasonably segregated from exempt materials and released. Some
    documents were released in full and some are released in part. The documents with
    redactions have been redacted pursuant to Exemption 6. Upon a line-by-line review, OSP
    determined that individual’s names, addresses, phone numbers, and similar identifying
    information should not be disclosed in this case, for the reasons described above.


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Executed this 21 day of March 2023.
                                                   OCTAVIA SMALLS Digitally signed by OCTAVIA SMALLS
                                                                  Date: 2023.03.21 17:31:36 -04'00'
                                                   _________________________________
                                                   Octavia Smalls
                                                   Administrative Officer/MPA
                                                   VA HRA/OSP
